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                              UNITED STATES DISTRICT COURT
                                          for the
                                DISTRICT OF CONNECTICUT

Confectionery Arts International, LLC,                )
                                                      )
                       Plaintiff,                     )
                                                      )
                v.                                    )
                                                      )      Civil Action No. 3:17-cv-00108 (KAD)
Sunflower Sugar Art USA, Inc.,                        )
                                                      )
                       Defendants.                    )
                                                      )      November 16, 2018


                       MEMORANDUM OF LAW IN SUPPORT OF
                      APPLICATION FOR PREJUDGMENT REMEDY

        Pursuant to Federal Rule of Civil Procedure 64, District of Connecticut Local Rule 4(c),

and Conn. Gen. Stat. § 52-278a, et. seq., and in support of the claims asserted in its Amended

Complaint, Confectionery Arts International, LLC (“CAI” or “Plaintiff”), by and through the

undersigned counsel, seeks a prejudgment remedy of attachment against Sunflower Sugar Art

USA, Inc. (“Sunflower” or “Defendant”). A prejudgment remedy of attachment is warranted in

this case to maintain the status quo between the parties with respect to the financial capacity to

satisfy judgment and to prevent the dissipation or transfer of assets by the Defendant should, as

is likely, the Court render judgment in Plaintiff’s favor.

   I.      PROCEDURAL HISTORY

        On January 25, 2017, CAI initiated this action by way of a complaint against Sunflower

and John Does 1 through 10 (“the initial complaint”). The initial complaint alleged claims for

trademark infringement and dilution under the Lanham Act, violations of Connecticut common

law of unfair competition, violation of the Connecticut Unfair Trade Practices Act (“CUTPA”),

tortious interference with business relations and trade libel. CAI’s claims were connected to


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Sunflower’s infringement of CAI’s federally registered DISCO DUST® trademark and

Sunflower’s tortious conduct toward CAI with respect to that trademark.

        CAI filed Sunflower’s executed Waiver of Service under Fed. R. Civ. P. 4(d) on April 28,

2017, which service was sent on March 24, 2017, allowing Sunflower until May 23, 2017 to

serve its Answer. Sunflower served its Answer on July 19, 2017, after CAI gave notice on July

7, 2017 of its intent to request an Entry of Default for failure to plead or otherwise defend under

Fed. R. Civ. P. 55(a). CAI agreed not to oppose Sunflower’s filing for the purpose of efficiency

and moving the case forward. In exchange, on July 26, 2017, CAI requested Sunflower’s

consent to file an amended Complaint, which Defendant’s counsel originally granted by email on

July 26, 2017. On August 9, 2017, CAI timely filed its Answer to Sunflower’s counterclaims of

declaratory judgment of non-infringement, Florida common law trademark infringement, Florida

common law unfair competition and false designation of origin and unfair competition.

        After serendipitously discovering facts not known to it before, CAI moved to amend its

complaint on November 22, 2017. Sunflower did not consent to CAI’s motion to amend, but did

not in the end oppose it. CAI’s Amended Complaint, filed on March 5, 2018, is Plaintiff’s

currently operative pleading. Sunflower responded to the Amended Complaint on November 13,

2018.

        The parties submitted their Rule 26(f) report on March 13, 2018. The initial discovery

plan conceived that discovery would be conducted in phases, that fact discovery would be

commenced March 27, 2018 and completed by June 15, 2018, and that all discovery, including

expert discovery would be completed by November 15, 2018. CAI timely served its initial

disclosures on March 27, 2018.

        In May 2018, CAI and Sunflower discussed extending the fact discovery deadline to



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allow Sunflower to serve to its initial disclosures, respond to CAI’s discovery requests, file a

stipulated protective order with the court, and serve whatever discovery requests it intended to

serve. On June 12, 2018, CAI contacted Sunflower about the status of the draft protective order

and was informed in response that Sunflower’s lead counsel, who had not yet made an

appearance, would be ending his legal practice, that local counsel would withdraw, and that

Sunflower would shortly be retaining new counsel.

         On June 15, 2018, CAI filed a motion for conference with the Court (later mooted) for

guidance on discovery with Sunflower not represented by counsel. On June 27, 2018, new

counsel for Sunflower filed their appearances in this case and on July 3, 2018, previous counsel’s

motion to withdraw was granted.

         The Court approved the Parties’ stipulated Protective Order on October 5, 2018, and per

the Court’s grant of the Parties’ recent Joint Motion to Modify its Scheduling Order, fact

discovery closes November 30, 2018, the deadline for dispositive motions is December 12, 2018,

and the case will be trial ready on March 14, 2019.

   II.      FACTUAL BACKGROUND

         This action arises from sales of goods by Sunflower under a mark infringing a federally

registered trademark, DISCO DUST, used and owned continuously since at least 1999. Since the

filing of CAI’s original complaint, CAI has added claims of trademark infringement, unfair

competition and unfair trade practices with respect to CAI’s federally registered “house mark,”

CONFECTIONERY ARTS INTERNATIONAL (stylized).

         CAI has been engaged in the development, production, sale, offer for sale, distribution

and marketing of decorative glitter for the confectionery industry and individual bakers and

makers of confectionery goods under the brand name DISCO DUST since at least 1997, with a



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date of first use in commerce at least as early as May 1999. (Czerczak Aff. ¶ 7; Am. Compl. ¶

22.) On October 1, 2010, after over a decade selling its DISCO DUST-branded products, CAI

filed an application to register the mark DISCO DUST on the Principal Register of the United

States Patent and Trademark Office (“USPTO”) for “decorative glitter” in International Class 20

(“Class 20”) and various goods in International Class 30 (“Class 30”). (Czerczak Aff. ¶ 11.) CAI

has since ceased using the mark and abandoned the registration for goods in Class 30. (Id. ¶ 12.)

       In or around December of 2016, CAI discovered that Sunflower was selling or offering

for sale its own decorative glitter under the “Disco Dust” mark. (Czerczak Aff. ¶ 22.) This use

by Sunflower of the term “Disco Dust” was not authorized by CAI. (Id. ¶¶ 22, 24.) On

December 12, 2016, CAI informed Sunflower that it was infringing its registered mark. (Id. ¶

23.) On January 23, 2017, Sunflower pro se filed a Petition to Cancel (Cancellation No.

92065334) CAI’s DISCO DUST trademark registration before the Trademark Trial and Appeal

Board (“TTAB”). Sunflower continues to sell decorative glitter under the mark “Disco Dust.”

(Czerczak Aff. ¶ 23.)

       CAI and Sunflower are direct competitors in the same market, i.e. the production,

distribution and sale of confectionery products. (Id. ¶ 25.) Both CAI’s DISCO DUST®-branded

products and the decorative glitter offered for sale under Sunflower’s “Disco Dust” product

name are sold in the same channels of trade. (Id. ¶ 26.) As a result, there have likely been

instances of overlapping purchasers between CAI and Sunflower. (Id. ¶ 27.)

       After CAI informed Sunflower of its infringement, but before CAI filed its original

complaint in this action, Sunflower contacted at least one customer of CAI’s in attempt to divert

the customer’s business from CAI to Sunflower. In its communication to CAI’s customer,

Sunflower represented that CAI’s DISCO DUST®-branded products are imitation products



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made with ingredients coming from China. (Id. ¶¶ 40-41; Am. Compl. at ¶ 88.) The

representation made by Sunflower to CAI’s customer that CAI’s products are “imitation” DISCO

DUST®-brand products is false. The representation that CAI’s DISCO DUST® products are

made in China is likewise false. (Czerczak Aff. ¶ 41.)

       In addition, Sunflower, using fake usernames, has on multiple occasions posted false

reviews of CAI’s DISCO DUST® products on internet retail websites. In at least one of these

reviews, Sunflower made a false accusation that there were “FDA advisory issues on the plastic

glitter.” (Czerczak Aff. ¶ 39.)

       CAI has also registered—and has used in commerce since 1997—its company name as a

trademark with the USPTO. The CONFECTIONERY ARTS INTERNATIONAL® “house

mark” bears USPTO Registration No. 4,263,560. CAI’s house mark is displayed on most, if not

all, of CAI’s product packaging and goods.

       In its Petition to Cancel CAI’s DISCO DUST ® trademark registration, among other

claims, Sunflower alleged that CAI did not actually own the mark DISCO DUST because of a

typographical error made by CAI in its application for registration, listing “Confectionary Arts

International, LLC” (spelled with an “a” rather than an “e”) as the owner of the mark. (Sunflower

later withdrew its claim on this basis in an amended pleading before the TTAB.)1 On January 25,

2017, two days after the filing by Sunflower of its Petition to Cancel, Sunflower incorporated a

corporation under the name “Confectionary Arts International, LLC.” (spelled with an “a”).

(Czerczak Aff. ¶¶ 33-35.) The registered address of the corporation “Confectionary Arts

International, LLC” is identical to the registered address of Sunflower. (Id. ¶ 33; Am. Compl. ¶

105.) The incorporation of this business entity was done by Michael Nugent, who is named as
1
 This error has been corrected by an amendment under Section 7 of the Lanham Act, 15 U.S.C. §
1057(e), 1057(h) (allowing for amendments to a Certificate of Registration to be issued to
correct non-material errors in the Certificate of Registration).

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“Member.” Mr. Nugent is a relative and business associate of Sunflower’s principal. (Czerczak

Aff. ¶¶ 33-44; Am. Compl. ¶ 107.)

           CAI did not become aware of the existence of Sunflower’s “Confectionary Arts

International, LLC” corporate filing until it received notice from the Connecticut Department of

Energy and Environmental Protection ("DEEP") that it was in violation of a minor recycling

regulation. (Czerczak Aff. ¶ 35.) The DEEP letter was addressed to Sunflower’s corporate

address and through an investigation under the Freedom of Information Act, it was revealed that

a DEEP representative was sent to CAI because of an anonymous and false tip sent to the United

States Environmental Protection Agency (“EPA”) that CAI had been burning plastic materials.

(Id. ¶ 36.)

           In addition to making email and voicemail threats to destroy CAI’s reputation, Sunflower

has also via email threatened to report CAI to the Food and Drug Administration and then to

make the decorating world aware of the report. (Id. ¶ 37-38.)

    III.      LEGAL STANDARD

           In general, a prejudgment remedy is intended to secure the satisfaction of a judgment

should the plaintiff prevail and to prevent the dissipation of assets by the defendant by bringing

those assets into the Court’s custody. Roberts v. Triplanet Partners, LLC, 950 F. Supp. 2d 418,

420 (D. Conn. 2013) (citing Cendant Corp. v. Shelton, No. 3:06-cv-854 (JCH), 2007 WL

1245310, at *2 (D. Conn. Apr. 30, 2007)); First Equity Group, Inc. v. Culver, No. 3:08-cv-01893

(VLB), 2009 WL 353490 at *6 (D. Conn. Feb. 11, 2009). Federal Rule of Civil Procedure 64

provides that prejudgment remedies available under state law are likewise available in federal

court. Fed. R. Civ. P. 64(a); New England Health Care Employees Welfare Fund v. iCare Mgmt.,

LLC., 792 F. Supp. 2d 269, 274 (D. Conn. 2011).



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       Under Connecticut law, prejudgment remedies are defined as “any remedy or

combination of remedies that enables a person by way of attachment, foreign attachment,

garnishment or replevin to deprive the defendant in a civil action of, or affect the use, possession,

or enjoyment by such defendant of, his property prior to final judgment.” Conn. Gen. Stat. 52-

278a(d); TES Franchising, LLC v. Feldman, 286 Conn. 132, 136, 943 A.2d 406, 411 (2008). A

Court shall award a prejudgment remedy to the plaintiff if the Court finds that “the plaintiff has

shown probable cause that…a judgment will be rendered in the matter in the plaintiff’s favor in

the amount of the prejudgment remedy sought and finds that a prejudgment remedy securing the

judgment should be granted” taking into account defendant’s defenses, claims, set-offs, claims of

exemption or adequate insurance. Conn. Gen. Stat. 52-278d(a); Margolin v. Kleban & Samor,

P.C., 275 Conn. 765, 767-768 n.3, 882 A.2d 653, 657 (2005).

       “Probable cause” has been defined under Connecticut law as “a bona fide belief in the

existence of facts essential under the law for the action and such as would warrant a man of

ordinary caution, prudence and judgment, under the circumstances, in entertaining it.” Three S.

Development Co. v. Santore, 193 Conn. 174, 175, 474 A.2d 795, 796-797 (citing Wall v.

Toomey, 52 Conn. 35, 26 (1884)); Valencis v. Nyberg, 160 Conn. App. 777, 782, 125 A.3d 1026,

1032 (2015). “Probable cause is less demanding than the ‘preponderance of the evidence’ or

‘likelihood of success’ standards.” SS & C Technologies, Inc. v. Providence Inv. Mgmt., 582

F.Supp.2d 255, 257 (D. Conn. 2008); see also, Ledgebrook Condominium Ass’n, Inc. v. Lusk

Corp., 172 Conn. 577, 584, 376 A.2d 60 (1977) (“Proof of probable cause as a condition of

obtaining a prejudgment remedy is not as demanding as proof by a fair preponderance of the

evidence.”).

       Probable cause is a “flexible, common sense standard” that does not require that the



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plaintiff’s belief that probable cause exists be correct or more likely true than false. New England

Land. Co., Ltd. v. DeMarkey, 213 Conn. 612, 620, 569 A.2d 1098 (1990). In short, the plaintiff is

not required to prove its case, but rather to show that probable cause exists to sustain the validity

of the claim. Walpole Woodworkers. Inc. v. Atlas Fencing, Inc., 218 F.Supp.2d 247, 249 (D.

Conn. 2002) (citing New England Land Co., Ltd.). As such, the hearing to determine probable

cause is not a “full scale trial on the merits,” but rather a hearing to weigh the probabilities as to

both the factual and legal issues of the case. Bank of Boston Connecticut v. Schlesinger, 220

Conn. 152, 156 (1991); Babiarz v. Hartford Special, Inc., 2 Conn. App. 388, 393, 480 A.2d 561

(1994).

   IV.       ARGUMENT

   A. PROBABLE CAUSE EXISTS TO SUSTAIN THE VALIDITY OF PLAINTIFF’S
      TRADEMARK INFRINGEMENT CLAIM FOR THE DISCO DUST® MARK.

          Suits for trademark infringement are governed by Section 32 of the Trademark Act of

1946 (“the Lanham Act”) which holds “any person” liable for infringement that uses in

commerce any “reproduction, counterfeit, copy or colorable imitation of a registered mark in

connection with the sale, offering for sale, distribution or advertising of goods or services on or

in connection with which such use is likely to cause confusion, or to cause mistake, or to

deceive.” 15 U.S.C. § 1114(1)(a). Section 32 also holds liable any person who applies a

reproduction, copy, counterfeit or colorable imitation to “labels, signs, prints, packages,

wrappers, receptacles, or advertisements intended to be used in commerce” in such a way as to

cause a likelihood of confusion, mistake or deception. 15 U.S.C. § 1114(1)(b).

          A claim for trademark infringement is analyzed under a two-prong test. Gruner + Jahr

USA Publishing v. Meredith Corp., 991 F.2d 1072, 1075 (2d. Cir. 1993). The first prong of the

test examines whether the owner of the trademark is entitled to trademark protection. The second


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prong focuses on whether the junior user’s use of the mark is likely to cause confusion as to the

origin or sponsorship of the junior user’s goods or services. Guthrie Healthcare System v.

ContextMedia, Inc. 826 F.3d 27, 37 (2d. Cir. 2016).

   (i)       Plaintiff’s DISCO DUST® mark has a presumption of validity and is entitled to
             protection, because it has been registered on the Principal Register of the USPTO.
          A Certificate of Registration from the USPTO is prima facie evidence that the mark is

both registered and valid (i.e. protectable), that the registrant is the owner of the mark, and that

the registrant has the exclusive right to use the mark in commerce. 15 U.S.C. § 1057(b); Lane

Capital Mgmt., Inc. v. Lane Capital Mgmt,, Inc., 192 F.3d 337, 345 (2d. Cir. 1999). CAI

obtained federal registration for the DISCO DUST® mark on January 24, 2012. Therefore, as

CAI’s DISCO DUST® mark is presumed valid and protectable through its Certificate of

Registration, the first prong of the trademark infringement test is satisfied.

   (ii)      There is probable cause to believe that consumers would likely be confused as to
             origin or sponsorship of Sunflower’s products in the marketplace.
          In determining whether there is a likelihood of confusion as to the origin or sponsorship

of a junior user’s goods via its presence in the marketplace, an eight-factor balancing test is

employed, called the “Polaroid test” in this Circuit. Polaroid Corp. v. Polarad Electronics,

Corp., 287 F.2d 492, 495 (2d Cir. 1961) (Friendly, J.). The eight factors in the Polaroid test are:

(1) the strength of the trademark; (2) the similarity of the marks; (3) the proximity of the

products and their competitiveness with one another; (4) evidence that the senior user may

“bridge the gap” by developing a product for sale in the junior user’s market; (5) evidence of

actual confusion; (6) evidence that the imitative mark was adopted in bad faith; (7) the respective

quality of the products; and (8) the sophistication of consumers in the relevant market. Star

Industries v. Bacardi & Co., Ltd., 412 F.3d 373, 384 (2d. Cir. 2005).

          CAI’s DISCO DUST® is a “strong mark” because it possesses both inherent

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distinctiveness and secondary meaning in the marketplace. The “mark strength,” or first factor of

the Polaroid test, turns on the ability of the mark to “uniquely identify the source” of the mark

owner’s products. Id. “There are two components of a mark’s strength: its inherent

distinctiveness and the distinctiveness it has acquired in the marketplace.” Brennan’s Inc. v.

Brennan’s Restaurant, LLC, 360 F.3d 125, 130-131 (2d. Cir. 2004). Inherent distinctiveness

concerns the inherent ability to identify a mark owner’s goods or services “without regard to

whether it has actually done so” through substantial and exclusive sales of goods under that

mark. Acquired distinctiveness looks at the extent of customer recognition of the mark as a

designation of origin of the mark owner’s goods. Id. at 131. A mark can be considered a strong

mark through either inherent or acquired distinctiveness. Two Pesos, Inc. v. Taco Cabana, Inc.

505 U.S. 763, 769 (1992) (noting that a mark can be protected by either inherent or acquired

distinctiveness).

       On the sliding scale of inherent distinctiveness, the DISCO DUST® mark is, at the very

least, a suggestive mark. See Abercrombie & Fitch Co. v. Hunting World, Inc., 537 F.2d 4, 9-11

(2d. Cir. 1976) (describing the four main categories of distinctiveness); see also, TCPIP Holding

Co. v. Haar Communications, 244 F.3d 88, 93-94 (2d. Cir. 2001) (summarizing the difference

between descriptive and suggestive marks). The term “Disco” refers to a musical genre that

emerged in the early 1970’s, originating from the term discothèque, French for “library of

phonograph records.” “Disco” in arbitrary combination with the term “dust” does not naturally

connect to the music genre at the core of the meaning of the term “disco,” or even to the

nightclub subculture with its mirrored balls where disco music was played. As would be the case

if the term defining another musical genre were combined with a completely non-musical term,

e.g. jazz dust, rock ‘n’ roll dust, or baroque dust, “imagination, thought, and perception” are



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required for the consumer to conclude that DISCO DUST® is decorative glitter. See Cross

Commerce Media, Inc. v. Collective, Inc., 841 F.3d 155, 162 (2d. Cir. 2016) (finding the mark

“COLLECTIVE” to be suggestive as a matter of law for data-driven analytic software). Since

the “mental leap” between the words “Disco Dust” and decorative glitter is not instantaneous,

CAI’s DISCO DUST® is suggestive, and therefore inherently distinctive as a matter of law. Id.

at 163.

          In addition to the mark’s being at least suggestive, CAI has been using the DISCO

DUST® mark since at least May 1999. (Czerczak Aff. ¶ 7.) The USPTO found that, through

substantial sales and over ten-year use of the DISCO DUST® mark, the mark had developed

secondary meaning as an identifier as the source of the goods. Inwood Labs, Inc. v. Ives Labs.,

Inc., 456 U.S. 844, 851, n. 11 (1982) (explaining that secondary meaning is when “the primary

significance of [the mark] is to identify the source of the product rather than the product itself”).

          In sum, CAI’s DISCO DUST® mark is a strong mark because of its inherent

distinctiveness (in that it is at least a suggestive mark) and its extensive and longstanding use in

the sale and offer for sale of decorative glitter by CAI. As such, the first factor in the Polaroid

test weighs in favor of a finding of likelihood of confusion.

          The second Polaroid factor, the similarity of marks, weighs strongly in favor of a finding

of likelihood of confusion because the marks at issue are not just similar, they are identical.

Sunflower does not dispute that it has been using the term “Disco Dust” as a mark in connection

with the sale, offer for sale, and advertising of its decorative glitter and associated goods. Since

the marks at issue are identical, this strongly favors a finding of likelihood of confusion. United

States Jaycees v. Philadelphia Jaycees, 639 F.2d 134, 142 (3rd Cir. 1981) (holding that there is a

“great likelihood of confusion when an infringer uses the exact trademark”).



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       The third Polaroid factor, the competitive proximity of the products in the marketplace,

also weighs strongly in favor of a finding of likelihood of confusion because CAI and Sunflower

are direct competitors in the relevant marketplace and the goods are both decorative glitter

products. (Czerczak Aff. ¶¶ 25-27.) Furthermore, Sunflower’s goods run in the same overall

channels of trade as CAI’s DISCO DUST® products, and the marketing of Sunflower’s “Disco

Dust” products is aimed at the same types of purchasers as CAI’s customers. (Id.)

       Given the extreme similarity between Sunflower’s goods to those sold by CAI, this factor

weighs strongly in favor of a finding of likelihood of confusion, since under such circumstances

it is more likely that a consumer will assume that Sunflower’s products and CAI’s products

emanate from a common source. Virgin Enterprises Ltd. v. Nawab, 335 F.3d 141, 150 (2d. Cir.

2005) (noting that “the closer the secondary user’s goods are to those the consumer has seen

marketed under the prior user’s brand, the more likely that the consumer will mistakenly assume

a common source”).

       The “bridging the gap” factor, the fourth Polaroid factor is not relevant here because

there is simply no gap to bridge, since Sunflower’s products are in direct competition with CAI’s

DISCO DUST® products. Starbucks Corp. v. Wolfe’s Borough Coffee, Inc., 588 F.3d 97, 115

(2d. Cir. 2009) (holding that where the parties are in direct competition the fourth Polaroid

factor is irrelevant to the analysis). The irrelevance of this factor, however, further amplifies how

strongly the competitive proximity factor weighs in favor of a finding of likelihood of confusion.

       As to the fifth Polaroid factor, that is, whether there is evidence of actual confusion of

consumers as to the origin or source of Sunflower’s products, there is a high likelihood that

evidence of actual confusion can be proved at trial. In the last ten years, there has been a large

increase in online wholesalers and retailers of cake decorating and confectionery products.



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(Czerczak Aff. ¶ 19.) CAI, a wholesaler of such products, has limited control over sales of

DISCO DUST®-brand decorative glitter on the secondary market. (Id. ¶ 20.) Given that there

are many small retailers selling confectionery products, it is difficult for consumers looking for a

specific manufacturer’s or wholesaler’s products to discern the original source simply from the

retailer’s often sparse online advertising; the consumer must therefore heavily rely on the

trademark as the only indicator of source. (Id. ¶¶ 20-21). In addition, it is likely that Sunflower,

which sells virtually identical goods, has sold products marked “Disco Dust” to the same

customers as CAI. (Id. ¶ 27.) Thus, to the extent that evidence of actual confusion can be

established at trial, this factor would weigh strongly in favor of likelihood of confusion.

        Even if evidence of actual confusion cannot be established in any significant volume, the

failure to prove actual confusion has little, if any, bearing on the likelihood of confusion between

the marks in this case. As the Ninth Circuit has held, failure to prove instances of actual

confusion is not dispositive against a finding of likelihood of confusion “because actual

confusion is hard to prove; difficulties in gathering evidence of actual confusion make its

absence generally unnoteworthy.” Brookfield Comms, Inc. v. West Coast Entertainment Corp.,

174 F.3d 1036, 1050 (9th Cir. 1999); accord, Lois Sportswear, USA, Inc. v. Levi Strauss & Co.,

799 F.2d 867, 875 (2d. Cir. 1986) (stating that it is “black letter law that actual confusion need

not be shown to prevail under the Lanham Act, since actual confusion is very difficult to prove

and the Act requires only a likelihood of confusion as to source”). This is especially true in this

case, given the identical nature of both the marks and the proximity of the goods. This factor is,

at worst, neutral.

        As noted above, there are strong indications that Sunflower adopted its “Disco Dust”

mark for use in connection with decorative confectionery glitter in order to trade on the



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consumer goodwill and market reputation of the DISCO DUST® mark. (Czerczak Aff. ¶ 27-29.)

This attempt to trade on the goodwill inherent in the DISCO DUST® mark makes the sixth

Polaroid factor—bad faith of the Defendant—weigh in favor of a finding of likelihood of

confusion.

        With respect to the seventh Polaroid factor, the quality of the Defendant’s product, CAI

has no evidence indicating the relative quality of Sunflower’s “Disco Dust” products compared

to CAI’s DISCO DUST®-brand decorative glitter. The only evidence available is that the

underlying components of the products do not originate from the same source. Therefore, since

the products could be of similar quality, this factor is neutral. See Gruner + Jahr, 991 F.2d at

1079 (noting that quality is weighed as a factor when there is an allegation that a low quality

product is attempting to trade on the reputation of a high quality product and holding that if there

is no evidence of that in a particular case, the factor is neutral).

        Finally, the “sophistication of purchasers” factor is, at least, neutral and very likely

weighs in favor of a finding of likelihood of confusion. This factor primarily concerns the care a

consumer can reasonably be expected to exercise when making his or her purchasing decisions in

the relevant market. Such degree of care has generally been held to depend on the cost of the

product: “[t]he greater the value of an article the more careful the typical consumer can be

expected to be; the average purchaser of an automobile will no doubt devote more attention to

examining different products and determining their manufacturer or source than will the average

purchaser of a ball of twine.” McGregor-Doniger, Inc. v. Drizzle, Inc. 599 F.2d 1126, 1137 (2d.

Cir. 1979). In this case, the “sophistication of buyers” factor weighs in Plaintiff’s favor, or is at

least neutral, because the online retail prices of the goods at issue are not high, varying between

$4 and $10 per jar.



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       Even if there were a higher degree of consumer care and sophistication expected of the

ordinary purchaser, the fact that here the marks and the goods are both identical would nullify

the impact of consumer sophistication on the Polaroid analysis. Id. (noting that in some cases,

“where the products and marks are identical, the sophistication of buyers cannot be relied on to

prevent confusion.”).

       In sum, as each of the Polaroid factors weighs either in favor of a finding of likelihood of

confusion between CAI’s use of the DISCO DUST® mark and Sunflower’s use of its identical

mark or is neutral/irrelevant, and as the most critical factors, i.e., those concerning the similarity

of the marks and the competitive proximity of products, weigh decisively in CAI’s favor, the

second prong of the trademark infringement test is satisfied.

       As CAI’s DISCO DUST® mark is presumed valid and protectable through its Certificate

of Registration and the Polaroid factors weigh heavily in favor of a likelihood of confusion

finding, both prongs of the trademark infringement test are satisfied; thus, probable cause exists

to sustain the validity of Plaintiff’s trademark infringement claim for the DISCO DUST® mark.

   B. PROBABLE CAUSE EXISTS TO SUSTAIN PLAINTIFF’S FEDERAL AND STATE
      UNFAIR COMPETITION CLAIMS AS TO ITS DISCO DUST® MARK.

       CAI’s claim under Section 43(a) of the Lanham Act and its parallel state common law

unfair competition claims are also valid since the analysis of CAI’s unfair competition claims is

fundamentally the same as in the trademark infringement context. Lois Sportswear, 799 F.2d at

871 (“in either a claim of trademark infringement under § 32 or a claim of unfair competition

under § 43, a prima facie case is made out by showing the use of one’s trademark by another in a

way that is likely to confuse consumers as to the source of the product”).

       Using the Polaroid test, CAI can establish probable cause for its claim for unfair

competition under Section 43(a) of the Lanham Act. See discussion supra Part IV(A)(ii).


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Similarly, a prima facie case of unfair competition is made out under Connecticut common law

through a parallel analysis of the likelihood of consumers being confused or deceived by the

entry of Sunflower’s “Disco Dust”-marked goods into the marketplace. Mohegan Tribe of

Indians of Connecticut v. Mohegan Tribe & Nation, Inc., 255 Conn. 358, 376 (2001) (observing

that the question to be determined is whether a trade name is used “such as to cause confusion in

the public mind” and whether the “public is likely to be deceived”).

        As discussed in detail in Part IV(A)(ii) supra, the likelihood of confusion or deception of

consumers is strong, given that the marks involved are identical to one another, the goods in

connection with which each mark is used are virtually identical, and, as direct competitors in the

marketplace, Sunflower and CAI are in close competitive proximity with one another. Under

such circumstances, the consuming public, even acting with reasonable care, is likely to be

confused by Sunflower’s “Disco Dust” products in the market. Finally, it is likely that such

consumer confusion has resulted in and will result in further pecuniary damage to CAI.

(Czerczak Aff. ¶¶ 26-29); id. (noting that the factfinder must determine that consumers would be

confused using reasonable care under the circumstances and that any likely confusion cause

pecuniary damage or “otherwise” to Plaintiff). Therefore, on similar grounds as its trademark

infringement claim, CAI’s federal and state common law unfair competition claims can be

established at trial.

    C. PROBABLE CAUSE EXISTS TO SUSTAIN PLAINTIFF’S CUTPA CLAIM AS TO
       THE INFRINGEMENT OF THE DISCO DUST® MARK.

        A violation of the Lanham Act is a per se violation of CUTPA. Pfizer, Inc. v. Miles, 868

F. Supp. 437, 442 (D. Conn. 1994); Anthem Sports, LLC v. Under the Weather, LLC., No. 3:17-

cv-596 (MPS) (D. Conn. Mar. 6, 2018) (observing that a “plaintiff’s trademark infringement

claim sets out a viable CUTPA claim inasmuch as it states a viable claim under the Lanham


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Act”). Therefore, probable cause exists to sustain CAI’s CUTPA claim because, as discussed in

Parts IV(A) and (B) supra, probable cause has been established for CAI’s federal trademark

infringement and federal unfair competition claims under the Lanham Act.

   D. PROBABLE CAUSE EXISTS TO SUSTAIN THE VALIDITY OF PLAINTIFF’S
      CLAIMS AS TO ITS CONFECTIONERY ARTS INTERNATIONAL® MARK.

   (i)      There is probable cause to sustain the validity of CAI’s claim for infringement of the
            CAI house mark.
         Following the analysis of Sunflower’s infringement of CAI’s DISCO DUST® mark in

Part IV(A) supra, Plaintiff’s claim concerning its house mark meets both prongs of the

trademark infringement test, that the mark is entitled to protection and that there exists likelihood

of confusion. See Guthrie Healthcare System, 826 F.3d at 37. The first prong is satisfied

because the CAI house mark is presumed to be protectable via its Certificate of Registration, see

Lane Capital Mgmt., 192 F.3d at 345, which was granted on December 25, 2012 (Czerczak Aff.

¶¶ 15-17). The second prong is satisfied because the relevant Polaroid factors weigh heavily in

favor of a finding of likelihood of confusion between CAI’s house mark and Sunflower’s “shell”

corporation in the name of “Confectionary (spelled with an “a”) Arts International, LLC.”

(Czerczak Aff. ¶¶ 33-35.)

         The analysis of CAI’s trademark infringement claim with respect to the CAI house mark

differs slightly from that of the DISCO DUST® mark, because Sunflower’s “shell” corporation

name is not absolutely identical (difference of one letter), the history of the adoption of the junior

mark differs, and the products sold (or which are potentially sellable) under the marks cover an

overlapping, but not identical inventory. Even though an analysis of all eight Polaroid factors

can be made, the third (competitive proximity), fourth (bridging the gap), seventh (quality of

goods) and eighth (sophistication of consumers) factors are closely connected to products and

fall in line with the DISCO DUST® analysis supra. The remaining Polaroid factors are: (1) the

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strength of the trademark; (2) the similarity of the marks; (5) evidence of actual confusion; and

(6) evidence that the imitative mark was adopted in bad faith. Star Industries, 412 F.3d at 384.

       With respect to the first factor, the strength of the mark, CAI’s house mark is at least

suggestive, as it is not descriptive of the goods sold or offered for sale under it. The term

“confectionery,” the dominant word in the mark, implies a connection to the industry of

confections and sweets, and the addition of the terms “arts” and “international” call to mind the

creative process and the global reach of CAI’s business, respectively. The addition of the stylized

element in the CAI house mark adds considerable distinctiveness. Whether classified as

“arbitrary” or “suggestive”, the CAI house mark is strong from the standpoint of inherent

distinctiveness, its strength further enhanced by CAI’s use of it for over twenty years, during

which time the CAI house mark has had substantial sales traffic in the Class 30 goods for which

it is protected. There is no contesting that “CONFECTIONERY ARTS INTERNATIONAL” is

CAI’s exclusive trade name under which it has been selling products since its inception in 1997.

The strength of mark factor, therefore, weighs heavily in favor of a finding of likelihood of

confusion.

       As to the second factor, similarity of the marks, the points of comparison are appearance,

sound, meaning, and commercial impression. See Palm Bay Imps., Inc. v. Veuve Clicquot

Ponsardin Maison Fondee en 1772, 396 F.3d 1369, 1371 (Fed. Cir. 2005) (citing In re E. I. du

Pont de Nemours & Co., 476 F.2d 1357, 1361 (C.C.P.A. 1973)). The CAI house mark and the

Sunflower “shell” company name are essentially identical in their sound, meaning, and overall

commercial impression. Even taking into account the stylized mark, there is only one letter, and

a fictitious corporate designation, that separates the two marks. Indeed, Sunflower’s intended

purpose in incorporating this new company was to create confusion or mistake based on an oft-



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made typographical error for the word “confectionery.” Therefore, this factor strongly favors a

finding of likelihood of confusion.

          Even though there is currently no evidence of actual consumer confusion, the fifth

Polaroid factor, there is actual evidence of confusion by an administrative agency, the

Connecticut DEEP. (Czerczak Aff. ¶¶ 35-36.) As such, this factor is at least neutral, or slightly

favors a finding of likelihood of confusion.

          Finally, the bad faith Polaroid factor is exceedingly relevant here, given that the

ostensible purpose of the creation of the “shell” company by Sunflower was to deceive the

USPTO as to the identity of the owner of the DISCO DUST® mark. (Czerczak Aff. ¶¶ 31, 33.)

The bad faith factor thus strongly favors a finding of likelihood of confusion.

          Therefore, all of the relevant Polaroid factors above weigh strongly in favor of a finding

of likelihood of confusion with respect to Sunflower’s use of the trade name “Confectionary

(spelled with an “a”) Arts International, LLC.” The remaining factors are either irrelevant if

“Confectionary Arts International, LLC” has not produced or sold any goods or services under

the trade name, or follow the analysis of Part IV(A)(ii) supra, if it sells products in the same

industry, of the same quality and to the same consumers as its affiliate Sunflower. As such, CAI

has probable cause to sustain the validity of its claim for infringement of the CAI house mark.

   (ii)      Plaintiff’s CUTPA claim as it pertains to Sunflower’s incorporation of
             “Confectionary Arts International, LLC” (spelled with an a) is valid.
          Sunflower’s incorporation of the Connecticut company Confectionary Arts International,

LLC (spelled with an “a”) for the purpose of misleading the TTAB, and by extension the

USPTO, constitutes a quintessentially unfair and deceptive trade practice. CUTPA prohibits

persons from engaging in “unfair methods of competition and unfair or deceptive acts or

practices in the conduct of any trade or commerce.” Conn. Gen. Stat. § 42-110b(a); Sportsmen’s


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Boating Corp. v. Hensley, 192 Conn. 747, 755 (1984). In determining whether a trade practice

violates CUTPA, Connecticut courts apply the criteria set forth by the Federal Trade

Commission in the “Cigarette rule” for determining unfairness. Harris v. Bradley Memorial

Hosp. & Health Ctr., 994 A.2d 153, 173 (Conn. 2010).

       The Cigarette Rule criteria are: (1) whether the practice, without necessarily having been

considered unlawful, offends public policy as it has been established by statutes, the common

law, or otherwise—in other words, is it within at least the penumbra of some common law,

statutory, or other established concept of unfairness; (2) whether the practice is immoral,

unethical, oppressive, or unscrupulous; (3) whether the practice causes substantial injury to

consumers, competitors or other businesspersons. Artie’s Auto Body v. Hartford Fire Ins. Co.,

119 A.3d 1139, 1143 (Conn. 2015). “All three criteria do not need to be satisfied to support a

finding of unfairness. A practice may be unfair because of the degree to which it meets one of

the criteria or because to a lesser extent it meets all three….” Harris, 994 A.2d at 173.

       With respect to the first criterion, the timing of the incorporation (two days after filing a

Petition to Cancel) and the choice to spell the word “Confectionary” with an “a,” combined with

the theory of ownership propounded by Sunflower before the TTAB, establish that the primary

motive for Sunflower’s incorporation of the “Confectionary Arts International, LLC” (spelled

with an “a”) was not to engage in business activities, but to deceive the USPTO as to the actual

ownership of the DISCO DUST® mark. As such, establishing a business entity for the purpose

of deceiving a federal government agency falls squarely within common law concepts of

unfairness and, moreover, would certainly violate both state and federal public policy. The first

criterion is satisfied to a high degree, given that attempted deception of a government agency is

the basis for this CUTPA claim.



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       For the same reasons, the attempted deception of a government agency is unethical,

immoral and unscrupulous, and thus meets the second Cigarette Rule criterion. This is especially

the case when Sunflower knew or had reason to know of CAI’s claim to ownership of both the

DISCO DUST® mark and its house mark. That is, by incorporating the shell entity, Sunflower

attempted to convince the USPTO that a third party, that was neither CAI nor Sunflower, was the

owner of the mark. Such conduct surely constitutes immoral and unscrupulous behavior.

       Finally, the third criterion examines whether the consumer or business injury created by

the unfair practice is substantial, whether that substantiality is outweighed by any countervailing

consumer or competition-related benefits to the trade practice, and whether the unfairness of the

practice could have been avoided by the plaintiff. Williams Ford, Inc. v. Hartford Courant Co.,

232 Conn. 559, 592 (1995); McLaughlin Ford, Inc. v. Ford Motor Co., 192 Conn. 558, 570

(1984) (applying third factor equally to competitors as to consumers).

       Sunflower’s incorporation of this shell company caused substantial injury to CAI in the

form of time, labor, and expense in setting the record straight and making clear to all parties that

no company called “Confectionary Arts International, LLC” (with an “a”) ever legitimately

existed. This injury incurred by CAI is not outweighed by any countervailing competitive or

consumer benefits from Sunflower’s actions, because there are simply no competitive or

consumer benefits to a practice designed to deceive governmental agencies. Lastly, CAI could

not have reasonably foreseen or avoided that Sunflower would engage in such conduct. As such,

Sunflower’s conduct satisfies the third Cigarette Rule criterion for unfairness as well. Probable

cause exists, therefore, to sustain the validity of CAI’s CUTPA claim against Sunflower’s

incorporation of the “Confectionary Arts International, LLC” shell company.

   E. PROBABLE CAUSE EXISTS TO SUSTAIN THE VALIDITY OF PLAINTIFF’S
      TORTIOUS INTEFERENCE AND TRADE LIBEL CLAIMS.


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   (i)      Probable cause exists to sustain Plaintiff’s tortious interference claim because
            Sunflower has made intentional false statements to at least one of CAI’s existing
            customers.
         The well-settled standard for proving a claim for tortious interference with business

relationships or business expectancies requires that the plaintiff show: (1) a business relationship

between the plaintiff and another party; (2) the defendant’s intentional interference with the

business relationship while knowing of the relationship; and (3) as a result of the interference,

the plaintiff suffers actual loss. Greenwich Taxi, Inc. v. Uber Techs., Inc., 123 F. Supp. 3d. 327,

342 (D. Conn. 2015); Hi-Ho Tower, Inc. v. Com-Tronics, Inc., 255 Conn. 20, 27 (2000). Further,

for a tortious interference claim to be made out, a plaintiff must establish that the interference by

the defendant was, in fact, “tortious.” Daley v. Aetna Life Ins & Cas. Co., 249 Conn. 766, 805-

806, 734 A.2d 112 (1999). The wrongful conduct required for the interference to be tortious may

be satisfied by evidence that, for example, the defendant committed fraud, misrepresentation, or

that the defendant acted maliciously (i.e., intentional interference without justification) or for

some other improper motive. Id.

         Sunflower sent an online communication to a customer of CAI encouraging the customer

not to continue purchasing CAI’s DISCO DUST®-brand decorative glitter on the false grounds

that CAI was “passing off” an “imitation” form of DISCO DUST®-brand decorative glitter and

that CAI’s decorative glitter was produced in China. (Am. Compl. ¶ 88; Czerczak Aff. ¶ 40.)

Both false statements made by Sunflower—that CAI’s DISCO DUST® products were not the

authentic DISCO DUST® brand and that CAI’s products were made in China—were made with

an intent to divert the customer to Sunflower’s “Disco Dust”-marked decorative glitter and to

call into question the product integrity and consumer reputation of CAI’s DISCO DUST®

products. (Czerczak Aff. ¶ 42.)


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           It has been established that there was a business relationship between CAI and its

customer. While it was unclear to the customer in question how Sunflower discovered the

existence of this relationship, Sunflower’s statement implies that not only was the third party

already a customer of CAI, but that Sunflower was aware of this relationship and sought to direct

the customer’s business to itself. (Id. ¶¶ 39-42.) It is highly unlikely that this is the only such

attack by Sunflower on the reputation of CAI’s products, simply the only one that was revealed

to CAI. Any customer who believed Sunflower’s claims, or simply did not want to involve itself

in this apparently contentious situation, would have had no reason to contact CAI to inform it of

the false communication. In addition, after the filing of this action, Sunflower sent an email to

CAI threatening to destroy CAI’s business reputation. (Czerczak Aff. ¶ 38.) Further, using fake

names and pseudonyms to disguise their identity, Sunflower employees or personnel made

additional false statements about CAI and its products through product reviews, including one

posted on or about January 30, 2017 that stated, falsely, that there was an “FDA advisory” on

“plastic glitter.” (Czerczak Aff. ¶ 39.)

           Thus, this is not a simple instance of a competitor seeking to advertise its products and

extoll its products or services as better than CAI’s. The “reasons” provided by Sunflower for the

customer to divert its business to it are, in fact, false claims as to geographic origin, and thus

quality, of CAI’s DISCO DUST® products. Because this interaction is an intentional attempt to

interfere in a customer relationship through misrepresentation without justification, probable

cause exists to sustain the validity of CAI’s claim for tortious interference with business

relationships.

    (ii)      Probable cause exists to sustain the validity of Plaintiff’s trade libel claim because
              Sunflower has made intentional false statements to at least one of CAI’s existing
              customers and in online reviews of CAI’s products.

           “Defamation or disparagement of a business’s goods or services may be considered trade

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libel.” Qsp, Inc. v. Aetna Cas. & Sur. Co., 256 Conn. 343, 358 (2001). To prove commercial

disparagement or trade libel, a plaintiff must demonstrate that the defendant made false

representations and that the defamatory statements concerned the plaintiff. CSL Silicones, Inc. v.

Midsun Grp., Inc., 301 F. Supp. 3d 328, 370 (D. Conn. 2018).

        As discussed in Part IV(E)(i) supra, all the statements made by Sunflower to CAI’s

customers and in reviews of CAI’s products on online retail websites, including that CAI’s

DISCO DUST® products are “imitation,” that its products are made in China, and that there

were FDA advisory issues on the plastic glitter, are false. (Czerczak Aff. ¶¶ 39-42.) These false

statements concerned both CAI and its goods and, given Sunflower’s threats to destroy CAI’s

reputation, were certainly known to be false by Sunflower. Further, the false statements made by

Sunflower were intended to result in, and in fact resulted in, a materially negative impact on the

commercial reputation and consumer goodwill of CAI’s DISCO DUST® products. As such, CAI

can establish probable cause on the validity of its claim for business disparagement or trade libel.

   V.      PLAINTIFF’S APPROXIMATE MONETARY RECOVERY ASSESSMENT
           SUPPORTS AN ATTACHMENT OF $ 510,000.

        CAI has reasonably assessed that it would be entitled to recovery of $510,00 in

compensatory damages, punitive damages for unfair competition and violations of CUTPA, and

attorneys’ fees for intentional and/or willful conduct. CAI’s estimate is approximately treble

Sunflower’s own disclosed profits on the Infringing Products over the period from registration to

this day. Plaintiff seeks to attach $510,000 in consideration of the fact that, according to

Sunflower’s production during discovery, the estimated amount of Sunflower’s profits from the

infringement of CAI’s DISCO DUST® mark is $180,000 total for the last five (5) years and that

such amount is likely to be trebled due to Sunflower’s willful tortious conduct.

        As CAI has shown via the evidence presented that it is entitled to a prejudgment remedy


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of attachment in an amount equal to or greater than the amount sought above, CAI respectfully

requests that the Court grant the prejudgment remedy and attach Sunflower’s assets in the

amount stated above.

   VI.      PLAINTIFF IS ENTITLED TO AN ORDER COMPELLING DEFENDANT
            TO DISCLOSE AND TURN OVER ITS ASSETS, TO SUSTAIN THE
            PREJUDGMENT REMEDY.

         Plaintiff also moves the Court, pursuant to Conn. Gen. Stat. § 52-278n, for an Order

compelling Sunflower to disclose and turn over its assets to sustain the viability of the

prejudgment remedy sought. Given that Sunflower is a Florida corporation with its registered

address in Florida, is unlikely that all (or any) of Sunflower’s assets are in the State of

Connecticut. Therefore, in order to effectuate the prejudgment remedy, Sunflower should be

ordered to bring any assets into the State of Connecticut for attachment in the State.

         The Court has the authority to issue such an order, even prior to a hearing on probable

cause for the prejudgment remedy. See, e.g., Metal Management, Inc. v. Schiavone, 514 F. Supp.

2d 227, 239 (D. Conn. 2007) (holding that the court possesses the authority to order disclosure of

assets); Lyons Hollis Assoc., Inc. v. New Technology Partners, Inc., 278 F. Supp. 2d. 236, 246

(holding that if the court has personal jurisdiction over the defendant and if justice warrants

disclosure, it is within the court’s power to order the delivery of assets into Connecticut for

purposes of attachment). In this case, the Court clearly has personal jurisdiction over Sunflower,

given the intentionally tortious conduct exhibited by it against CAI. Calder v. Jones, 465 U.S.

783, 788-791 (1984) (holding alleged libelous conduct outside the forum sufficient for personal

jurisdiction even without other minimum contacts); Licciardello v. Lovelady, 544 F.3d 1280,

1288 (11th Cir. 2008) (holding that personal jurisdiction for trademark infringement is satisfied

under Calder because of effects inside the forum). In any case, any challenge to such jurisdiction



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has been waived by Sunflower due to its dilatory conduct in responding to CAI’s original and

amended complaints. Thus, to prevent an unwarranted and unfair dissipation of Sunflower’s out-

of-state assets prior to judgment, justice requires that Sunflower be ordered to deliver up

sufficient assets to be able to be attached in the amount sought by CAI’s application for

prejudgment remedy.

   VII.     CONCLUSION

       In light of the foregoing, Plaintiff respectfully requests that the Court grant its application

and motion for a prejudgment remedy of attachment of Defendant’s assets in the amount of

$510,000 (Czerczak Aff. ¶¶ 45-46), and order Defendant to disclose all assets, regardless of

where those assets are located, and deliver up sufficient assets into the State of Connecticut and

the Court’s jurisdiction to satisfy the prejudgment remedy amount, and any such further relief

that the Court believes is just and proper.

                                                      Respectfully Submitted,

                                                      Confectionery Arts International, LLC

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                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on November 16, 2018, a copy of the foregoing was

filed electronically and served by mail on anyone unable to accept electronic filing. Notice of

this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system

or by mail to anyone unable to accept electronic filing as indicated in the Notice of Electronic

Filing. Parties may access this filing through the Court’s system.


                                                       __/s/ Daniel R. Cooper__
                                                        Daniel R. Cooper




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